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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COREY A. DICK,                                :
    Plaintiff,                                :
                                              :
        v.                                    :       CIVIL ACTION NO. 24-CV-6760
                                              :
PRIMECARE MEDICAL, INC., et al.,              :
     Defendants.                              :

                                             ORDER

        AND NOW, this 10th day of April, 2025, upon consideration of Plaintiff Corey A. Dick’s

Motion to Proceed In Forma Pauperis (ECF No. 1), Prisoner Trust Fund Account Statement

(ECF No. 7), pro se Complaint (ECF No. 2), Request for Appointment of Counsel (ECF No. 4)

and Request for Court Order for Medical and Dental Records (ECF No. 12), it is ORDERED

that:

        1.     Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

        2.     Corey A. Dick, #121136, shall pay the full filing fee of $350 in installments,

pursuant to 28 U.S.C. § 1915(b), regardless of the outcome of this case. The Court directs the

Warden of Bucks County Correctional Facility or other appropriate official to assess an initial

filing fee of 20% of the greater of (a) the average monthly deposits to Dick’s inmate account; or

(b) the average monthly balance in Dick’s inmate account for the six-month period immediately

preceding the filing of this case. The Warden or other appropriate official shall calculate, collect,

and forward the initial payment assessed pursuant to this Order to the Court with a reference to

the docket number for this case. In each succeeding month when the amount in Dick’s inmate

trust fund account exceeds $10.00, the Warden or other appropriate official shall forward

payments to the Clerk of Court equaling 20% of the preceding month’s income credited to
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Dick’s inmate account until the fees are paid. Each payment shall refer to the docket number for

this case.

         3.    The Clerk of Court is DIRECTED to send a copy of this Order to the Warden of

Bucks County Correctional Facility.

         4.    The Complaint is DEEMED filed.

         5.    The Request for Appointment of Counsel (ECF No. 4) and Request for Court

Order for Medical and Dental Records (ECF No. 12) are DENIED WITHOUT PREJUDICE.

         6.    Dick’s Complaint (ECF No. 2) is DISMISSED IN PART WITH PREJUDICE

AND IN PART WITHOUT PREJUDICE for failure to state a claim pursuant to 28 U.S.C. §

1915(e)(2)(B)(ii), for the reasons stated in the Court’s accompanying Memorandum as follows:

               a.      All claims asserted against Bucks County Correctional Facility are

               DISMISSED WITH PREJUDICE.

               b.      All other claims are DISMISSED WITHOUT PREJUDICE.

         7.    Dick may file an amended complaint within thirty (30) days of the date of this

Order. Any amended complaint must identify all defendants in the caption of the amended

complaint in addition to identifying them in the body of the amended complaint and shall state

the basis for Dick’s claims against each defendant. Dick may NOT reassert claims that have

already been dismissed with prejudice. The amended complaint shall be a complete document

that does not rely on the initial Complaint or other papers filed in this case to state a claim.

When drafting his amended complaint, Dick should be mindful of the Court’s reasons for

dismissing the claims in his initial Complaint as explained in the Court’s Memorandum. Upon

the filing of an amended complaint, the Clerk shall not make service until so ORDERED by the

Court.



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       8.         The Clerk of Court is DIRECTED to send Dick a blank copy of the Court’s

standard form complaint for a prisoner filing a civil rights action bearing the above civil action

number. Dick may use this form to file his Amended Complaint if he chooses to do so. 1

       9.         If Dick does not wish to amend his Complaint and instead intends to stand on his

Complaint as originally pled, he may file a notice with the Court within thirty (30) days of the

date of this Order stating that intent, at which time the Court will issue a final order dismissing

the case. Any such notice should be titled “Notice to Stand on Complaint,” and shall include the

civil action number for this case. See Weber v. McGrogan, 939 F.3d 232 (3d Cir. 2019) (“If the

plaintiff does not desire to amend, he may file an appropriate notice with the district court

asserting his intent to stand on the complaint, at which time an order to dismiss the action would

be appropriate.” (quoting Borelli v. City of Reading, 532 F.2d 950, 951 n.1 (3d Cir. 1976))); In re

Westinghouse Sec. Litig., 90 F.3d 696, 703–04 (3d Cir. 1996) (holding “that the district court did

not abuse its discretion when it dismissed with prejudice the otherwise viable claims . . .

following plaintiffs’ decision not to replead those claims” when the district court “expressly

warned plaintiffs that failure to replead the remaining claims . . . would result in the dismissal of

those claims”).

       10.        If Dick fails to file any response to this Order, the Court will conclude that Dick

intends to stand on his Complaint and will issue a final order dismissing this case. 2 See Weber,



       1
         This form is available on the Court’s website at
http://www.paed.uscourts.gov/documents/forms/frmc1983f.pdf.
       2
          The six-factor test announced in Poulis v. State Farm Fire & Casualty Co., 747 F.2d
863 (3d Cir. 1984), is inapplicable to dismissal orders based on a plaintiff’s intention to stand on
his complaint. See Weber, 939 F.3d at 241 & n.11 (treating the “stand on the complaint”
doctrine as distinct from dismissals under Federal Rule of Civil Procedure 41(b) for failure to
comply with a court order, which require assessment of the Poulis factors); see also Elansari v.
Altria, 799 F. App’x 107, 108 n.1 (3d Cir. 2020) (per curiam). Indeed, an analysis under Poulis
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939 F.3d at 239-40 (explaining that a plaintiff’s intent to stand on his complaint may be inferred

from inaction after issuance of an order directing him to take action to cure a defective

complaint).

                                              BY THE COURT:




                                              MIA R. PEREZ, J.




is not required when a plaintiff willfully abandons the case or makes adjudication impossible, as
would be the case when a plaintiff opts not to amend his complaint, leaving the case without an
operative pleading. See Dickens v. Danberg, 700 F. App’x 116, 118 (3d Cir. 2017) (per curiam)
(“Where a plaintiff’s conduct clearly indicates that he willfully intends to abandon the case, or
where the plaintiff's behavior is so contumacious as to make adjudication of the case impossible,
a balancing of the Poulis factors is not necessary.”); Baker v. Accounts Receivables Mgmt., Inc.,
292 F.R.D. 171, 175 (D.N.J. 2013) (“[T]he Court need not engage in an analysis of the
six Poulis factors in cases where a party willfully abandons her case or otherwise makes
adjudication of the matter impossible.” (citing cases)).
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